           Case 3:11-cr-05677-JLS                       Document 66                Filed 07/17/12                   PageID.174          Page 1 of 2


    ""AO 2453 (CASD) (Rev. 11'11) .Iudgmcm in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT C(lUIttr\ 1 PM 3= 5~
                                                  SOUTHERN DISTRICT OF CALI
                     UNITED STATES OF AMERICA                                        JUDGMENT tN A CRIMINAL CASE
                                        v.                                           (For Offenses Com..mitle~~r After Novemb8£.!r!JT987)
                                                                                                            "'I':
                   ALONSO TOPETE-VALENCIA (1)                                        Case Number: IICR5677-JLS
                                                                                     Federal Defenders, Inc., by: Cassandra Lucinda Lopez
                                                                                     Defendant"s Attorney
    REGISTRATION NO. 29225298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) TWO OF THE INDICTMENT
    D was iound guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly. the deiendant is adjudged guilty of such counl(s). which involve the following ot1ense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(2)(B)(iii) &            BRINGING IN ILLEGAL ALIENS WITHOUT PRESENTATION; AIDING                                               2
18 USC 2                              AND ABETTING




        The defendant is sentenced as provided in pages 2 through                2          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count{s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  181 Count(s) (REMAINING COUNTS)                                     is D arel8l dismissed on the motion ofthe United States.
  181 Assessment: $100.00 IMPOSED

  181 Fine waived                                   D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name. residence.
 or mailing address until all tines, restitution. costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 detendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               mLY 13,2012




                                                                                 NITED STATES DISTRICT JUDGE

                                                                                                                                                llCR5677-JLS
      Case 3:11-cr-05677-JLS                        Document 66       Filed 07/17/12        PageID.175               Page 2 of 2


AO 2458 (C ASD) (Rev. 12/ II) Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                            Judgment -   Page   _...;.2_ of     2
 DEFENDANT: ALONSO TOPETE-VALENCIA (I)
 CASE NUMBER: IlCRS677..JLS
                                                             IMPRISONMENT
         The detendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned lor a term of
         EIGHTEEN (18) MONTHS



    o Sentence imposed pursuant to Title 8USC Section 1326(b).
    I8l The court makes the following recommendations to the Bureau of Prisons:
          (I) SOUTHWEST REGION OF THE UNITED STATES.




     o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op.m.    on _________________

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o betore -----------------------------------------------
        o as notitied by the United States Marshal.
        o as notified by the Probation or Pretrial Services Ot1ice.
                                                                RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STA TES MARSHAL

                                                                      By ________________________________________
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                         11 CRS677-JLS
